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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

  Civil Action No.


  MATT PLICHTA,

                      Plaintiff,
              v.

  COSTCO WHOLESALE CORPORATION,

                       Defendant.


                                   COMPLAINT AND JURY DEMAND


         Plaintiff, Matt Plichta (“Plaintiff” or “Plichta,” by and through his attorneys, HKM

  Employment Attorneys, LLP, for his Complaint against Defendant Costco Wholesale Corporation

  (“Costco” or “Defendant”) states and alleges as follows:

                                    PRELIMINARY STATEMENT

         1.        This is an employment discrimination case arising from Defendant’s failure to

  accommodate, discrimination toward, and constructive termination of Plaintiff because of his

  actual and/or perceived disability (i.e. major depressive disorder with anxious distress, attention

  deficit hyperactivity disorder combined, and related symptoms), in violation of the Americans with

  Disabilities Act, as amended (“ADA”).

         2.        Plaintiff began working for Defendant as a Cashier Assistant on or about March 9,

  2020. From July 25, 2020 and until his constructive termination, Plaintiff regularly requested

  reasonable accommodations, to work four days per week, with one of his days off each week being

  on a Wednesday, to attend medical appointments. His requests for same were repeatedly denied.

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          3.      For a period of time, Defendant insisted that Plaintiff would be scheduled on

  Wednesdays, but should “call out” on those days for his medical appointments. Plaintiff accepted

  this alternative accommodation, but was then disciplined for calling out of work as he had been

  instructed to do.

          4.      At another point, Defendant attempted to demote Plaintiff to a Limited Part Time

  position, which would reduce Plaintiff’s hours from 28 to 30 per week down to only 15 hours per

  week.

          5.      In July of 2021, Defendant finally allowed Plaintiff the reasonable accommodations

  he had sought for approximately one year. However, on or about September 10, 2021, Defendant

  revoked the accommodation and informed Plaintiff that he must again call out and use either his

  Family Medical Leave Act or Paid Time Off time when Plaintiff needed to miss work because of

  his disabilities.

          6.      The fact that Defendant provided the reasonable accommodation, albeit briefly,

  demonstrates that Defendant could have provided this reasonable accommodation throughout the

  period in which Plaintiff requested same, without causing any undue hardship.

          7.      In or about December 2021, having suffered from months of the Defendant failing

  to accommodate his disability, and because Defendant’s ongoing and repeated failure to

  accommodate him had exacerbated his medical conditions, Plaintiff was forced to take medical

  leave to obtain the necessary treatment.

          8.      Defendant’s conduct – including refusing to grant Plaintiff reasonable

  accommodations when it was able to do so without causing Defendant any undue hardship, and

  rescinding the accommodations it had briefly granted – had a significant impact on Plaintiff’s


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  mental health and impaired his ability to obtain the treatment he needed. Likewise, Defendant’s

  conduct showed that Plaintiff’s supervisors were not interested in working with individuals who

  requested reasonable accommodations.

         9.      While he was on medical leave, in February 2022, Plaintiff felt he had no choice

  but to resign. Having suffered discriminatory treatment by Defendant from July 2020 to February

  2022 – and after being forced to frequently forego much-needed therapy and medication that he

  could not afford due to Defendant reducing his hours (by insisting he call out of work for

  appointments) – Plaintiff was forced to resign in February 2022.

                                              PARTIES

         10.     Plaintiff incorporates all the paragraphs of this Complaint as though set forth fully

  and separately herein.

         11.     Plaintiff is, and at all times relevant to this Complaint was, a resident of Colorado.

         12.     At all relevant times, Plaintiff was a member of a protected class of individuals

  recognized under the Americans with Disabilities Act and the Colorado Anti-Discrimination Act.

         13.     Defendant Costco Wholesale Corporation (“Costco” or “Defendant”) is a

  Washington corporation duly registered as a Foreign Corporation in Colorado, with a principal

  office at 999 Lake Dr., Issaquah, Washington 98027.

         14.     Plaintiff works for Defendant at its 505 N. Nevada Avenue, Colorado Springs,

  Colorado 80918 location.

         15.     At all relevant times, Costco was Plaintiff’s “employer” within the meaning of the

  Americans with Disabilities Act and Colorado Anti-Discrimination Act.




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         16.       Defendant is an employer within the meaning of 42 U.S.C. § 12111(5)(A), in that

  the Defendant has 15 or more employees each working day in each of 20 or more calendar weeks

  in the current or preceding calendar year.

         17.       Defendant is an employer within the meaning of the Colorado Anti-Discrimination

  Act, C.R.S. § 24-34-401(3).

                                    JURISDICTION AND VENUE

         18.       Plaintiff incorporates all the paragraphs of this Complaint as though set forth fully

  and separately herein.

         19.       This Court has original jurisdiction over Plaintiff’s federal claims pursuant to 28

  U.S.C. § 1331.

         20.       This Court has original jurisdiction over Plaintiff’s claims due to diversity of

  citizenship between the parties and because the jurisdictional amount exceeds $75,000, pursuant

  to 28 U.S.C. § 1332.

         21.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

  employment practices and other conduct alleged to be unlawful occurred in this District.

                 ADMINISTRATIVE REMEDIES HAVE BEEN EXHAUSTED

         22.       Plaintiff incorporates all the paragraphs of this Complaint as though set forth fully

  and separately herein.

         23.       Plaintiff filed his Charge of Discrimination, Charge Numbers E2100010908 and

  32A-2021-00383, with the Equal Employment Opportunity Commission and Colorado Civil

  Rights Division for disability and/or perceived disability discrimination, failure to accommodate,

  and retaliation on or about February 17, 2021.


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         24.     On or about February 17, 2022, the Colorado Civil Rights Division issued a

  Determination in favor of Plaintiff on Charge Number E2100010908, concluding “from our

  investigation that there is sufficient evidence to support the Complainant’s claims of failure to

  accommodate a disability and retaliation. As such, a Probable Cause determination is hereby

  issued for those claims.”

         25.     The Determination Plaintiff was issued constitutes a Notice of Right to Sue with

  respect to Charge Number E2100010908.

         26.     Plaintiff has requested but not yet received a Notice of Right to Sue with respect to

  Charge Number 32A-2021-00383.

         27.     On or about April 18, 2022, Plaintiff filed a Second Charge of Discrimination

  asserting additional allegations of discrimination, retaliation, and constructive termination based

  on his known and/or perceived disability.

         28.     Plaintiff has requested but not yet received a Notice of Right to Sue with respect to

  the Charge filed on or about April 18, 2022.

         29.     To put Defendant on notice of all claims Plaintiff intends to bring and to potentially

  save the parties and the Court resources, Plaintiff includes the claims from Charge Number 32A-

  2021-00383 and his Second Charge of Discrimination in this first Complaint. Plaintiff intends to

  address with counsel during the 26(f) conference, and with the Court during the scheduling

  conference, whether an amended pleading will be necessary once the additional Notices of Right

  to Sue are received from the CCRD and/or EEOC.

         30.     Plaintiff filed the present action within ninety (90) days of receipt of the first Notice

  of Right to Sue.


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          31.        Plaintiff has met all administrative prerequisites prior to filing this action.

                                        FACTUAL ALLEGATIONS

          32.        Plaintiff incorporates all the paragraphs of this Complaint as though set forth fully

  and separately herein.

          33.        Plaintiff began working for the Defendant as a Cashier Assistant on or about March

  9, 2020.

          34.        At all times during his employment with Defendant, Plaintiff met or exceeded

  Defendant’s legitimate performance expectations.

          35.        Plaintiff is a disabled person within the meaning of the ADA, in that Plaintiff suffers

  from major depressive disorder with anxious distress; attention-deficit hyperactivity disorder

  combined; and related symptoms.            Without taking into account the effects of ameliorative

  measures, such as medication, Plaintiff’s medical conditions substantially limit one or more major

  life activities.

          36.        Plaintiff’s medical condition also constitutes a perceived disability. Defendant

  knew about his medical condition and knew that it was neither transitory nor minor.

          37.        On or about July 25, 2020, Plaintiff asked Steven Milam and Troy Dantzler,

  (Managers) for the reasonable accommodation of working four rather than five days per week.

  Without any evaluation, Milam and Dantzler said no. They explained that Defendant had

  previously allowed 4-day work weeks but discontinued the practice.

          38.        On or about August 18, 2020, Plaintiff called Defendant’s Human Resources

  Hotline to request the reasonable accommodation of working four days per week rather than five




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  days per week. Defendant’s Human Resources representative instructed Plaintiff to ask Brandon

  Ruiz (General Manager).

         39.     Plaintiff asked Ruiz for the reasonable accommodation, and Ruiz insisted the

  request to be made in writing. On or about August 22, 2020, per Ruiz’s request, Plaintiff placed a

  letter requesting accommodations on Ruiz’s desk. The following is a copy of the letter:




         40.     On or about August 30, 2020, Plaintiff was called into Defendant’s administrative

  office to talk with Milam and Dantzler (Managers). In that meeting, the Managers gave Plaintiff

  a copy of the August 26, 2020 email chain discussed below and explained to Plaintiff that, per

  Company policy, Plaintiff was expected to work five days per week. However, they also asked

  Plaintiff to provide a doctor’s note regarding his requested accommodations and instructed


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  Plaintiff that, while waiting for further response from Defendant, Plaintiff should call out weekly

  as needed for doctor’s appointments. The email chain given to Plaintiff included the following:

                 (a) On or about August 26, 2020, Wesley Knutsen (Payroll Clerk) emailed Tyson
                     Bergren (Personnel Specialist) to explain that Plaintiff had requested an
                     accommodation of working four days per week due to a disability. Knutsen
                     asked: “I know I probably have asked before but is it a Costco policy to be
                     scheduled 5 days or can we make our own determination on a case by case
                     basis.”

                 (b) Bergren responded: “There is not a Company policy that outright says PT
                     employees must work 5 days per week, but the Execs have essentially
                     implemented an expectation that PT employees are available 5 days per week.
                     Since the employee is making this as a medical accommodation request, he
                     would need to provide documentation from his doctor indicating a need, and
                     management would work with Integrated Leave to determine if/how the request
                     can be accommodated.” (emphasis added).

         41.     On or about September 14, 2020, Plaintiff sent a letter (dated September 11, 2020)

  to Bergren again requesting accommodations, and including a letter from his doctor, Brian

  Anderson, M.D. Plaintiff provided the following to Defendant on September 14, 2020:




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          42.    On or about September 15, 2020, Bergren responded that all requests for

   accommodation must go through Ruiz (General Manager). Plaintiff explained to Bergren that he

   had already provided a request for accommodation to Ruiz in August 2020, but to no avail.

          43.    On or about September 21, 2020, Plaintiff gave a printed copy of the above request

   for accommodations to Joseph Washington (who was, at the time, the new General Manager).

          44.    On or about September 25, 2020, Plaintiff received a phone call from Briotix Health

   – a company which assists Defendant with the accommodation process – asking for authorization

   to speak directly to Plaintiff’s doctor.     Plaintiff declined and instead agreed to relay

   communications and seek further information from his health care providers as necessary.

          45.    On or about September 26, 2020, Washington approached Plaintiff and said that he

   had sent Plaintiff’s request for accommodations to Defendant’s corporate office. While waiting

   for a response from Defendant’s corporate office, Washington offered to allow Plaintiff

   Wednesdays off for 90 days, so long as Plaintiff signed an acknowledgment that the new,

   temporary position would end in 90 days. Plaintiff declined unless Defendant would agree to

   reassess Plaintiff’s medical restrictions and need for accommodations at the end of the 90-day

   period. Defendant refused.

          46.    On or about October 1, 2020, Plaintiff received the following letter from

   Defendant’s “WorkCare Team” asking for additional information from Plaintiff’s doctors:




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          47.    On or about October 21, 2020, Plaintiff provided Defendant with a letter from

   Plaintiff’s doctor, Dr. Anderson, responding to the questions posed on October 1, 2020:




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          48.     On or about November 10, 2020, Washington offered Plaintiff a limited part-time

   position, i.e. a demotion, stating: “the only other alternative I can think of is a Limited Part Time

   position” in which Plaintiff would be working only 15 hours or less per week. Plaintiff explained

   that a limited part-time position would reduce Plaintiff’s hours and thus his pay.

          49.      In this conversation, Washington admitted that allowing Plaintiff Wednesdays off

   of work would be easy for the Defendant to allow. However, Washington said that if Defendant

   let Plaintiff have an accommodation, it would “open the floodgates” for other employees to request

   days off. Washington said that the Defendant would not accommodate Plichta “long-term,” and

   that he would need to talk to WorkCare prior to Defendant allowing an accommodation, if any.

          50.     Plaintiff reminded Washington that he had been requesting reasonable

   accommodations since July 2020 and still had not received an accommodation. Plaintiff explained

   that he could not accept the demotion to a limited part-time position, as it would significantly

   reduce his work hours.

          51.     The following are excerpts from the conversation:

                  (a) Washington: “The issue becomes, once we set a precedent and
                      we start doing things like this, it’s going to open the floodgates
                      for employees to say ‘I can’t work a certain thing.’”

                  (b) Washington: “So you were saying that you need to have
                      Wednesdays, that’s not a big deal at all.”

                  (c) Washington, in response to Plaintiff asking if it would be
                      unreasonable for him to work 4 days per week: “I’m not saying
                      that it’s unreasonable. But it’s just not what we typically do at
                      Costco. As a retail company we require our employees to work
                      five days a week.”

                  (d) Washington: “[T]here’s not an accommodation for a four day
                      work week.”


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                  (e) Washington, after suggesting additional breaks as an
                      accommodation: “[T]he only other alternative I can think of is a
                      Limited Part Time position.” A Limited Part Time position
                      would limit Plaintiff to only 15 hours per week or less – a
                      demotion, as it would reduce Plaintiff’s hours from 28 to 30
                      hours per week he normally worked.

                  (f) When Plaintiff asked why a 4-day workweek would not work,
                      Washington responded: “Yeah because Costco is telling you that
                      it’s not an accommodatable option, is what this is saying. That’s
                      all I can tell you. . . . They tell me I can do it then I’ll do it. I
                      don’t have a problem with it.”

            52.   On or about November 11, 2020, Plaintiff emailed Washington copies of the

   previously submitted requests for accommodation.

            53.   On or about November 24, 2020, Plaintiff asked Washington if there was an update

   in follow-up to their November 10, 2020 conversation and Plaintiff’s prior requests for

   accommodation. Washington said that he had not yet talked with anyone in Human Resources

   and would not be able to until after the holidays.

            54.   On or about December 6, 2020, Plaintiff called in sick due to a disability-related

   event.

            55.   On or about December 15, 2020, Plaintiff tried to call Jill Whittaker (Regional

   Manager) to ask about the status of the reasonable accommodation Plaintiff had been requesting

   since July 2020. Ms. Whittaker’s associate, Heidi (last name unknown) said that she would try to

   get Plaintiff an answer soon.

            56.   Later, or about December 15, 2020, Plaintiff spoke with Washington, Lydia

   Maldonado (Assistant General Manager), and Teresa Tollefson (HR Manager). The following are

   excerpts from the conversation:



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                 (a) They urged Plaintiff to accept a demotion to a temporary, limited part-time
                     position in which Plaintiff would work approximately 15 hours per week, and
                     which would be reevaluated on February 12, 2021. Plaintiff declined the
                     demotion.

                 (b) The Defendant claimed it needed clarification on other accommodations that
                     would allow Plaintiff to work “hours more in line with the business needs of
                     [his] position,” noting that the physician did not say that the requested
                     accommodation was “the only reasonable accommodation.”

          57.    On or about December 18, 2020, Plaintiff received another letter from Defendant

   (dated December 15, 2020) asking his doctor for additional information:




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          58.     On or about December 28, 2020, Plaintiff received an Employee Counseling Notice

   for “excessive absenteeism.” Some of the absences were related to calling out sick – as Plaintiff

   had been explicitly instructed to do in a prior meeting regarding his requests for accommodation

   – in order to attend medical appointments related to Plaintiff’s disability.

          59.     On or about February 1, 2021, Plaintiff provided another doctor’s letter that

   reiterated: (1) there were no alternative accommodations that would allow him to work a five-day

   week; and (2) Plaintiff’s medical appointments could not be scheduled on alternative days as lack

   of structured appointments would negatively impact his medical condition:




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          60.     On or about February 22, 2021, Defendant’s WorkCare division asked Plaintiff

   whether his condition would require him to be absent from work intermittently, and if so, how

   frequently and for how long. Defendant claimed that this information had not yet been provided.

          61.     On or about March 1, 2021, Plaintiff was issued a performance review in which

   Plaintiff was scolded for alleged issues related to attendance. Again, many of the call outs were

   because of Plaintiff’s disability and because Plaintiff had explicitly been instructed to call out.

          62.     On or about March 5, 2021, Plaintiff spoke with Chris Dages (Manager), who said

   that Plaintiff had two options:

                  a. To accept a one-month accommodation, in which Plaintiff
                     would have Wednesdays off of work to attend medical
                     appointments. Plaintiff expressed his concerns that this option
                     would put him into a Transitional Temporary role, rather than a
                     permanent part-time employee. In addition, this option did not
                     address the main accommodation recommended by Plaintiff’s
                     doctor, which is that Plaintiff work only four days per week,
                     rather than five; or

                  b. To remain in Plaintiff’s current position with no
                     accommodations, despite having provided Defendants with
                     multiple medical records insisting that Plaintiff need an
                     accommodation.

                  c. Dages explained that Defendant would not accommodate
                     Plaintiff’s medical restrictions because Defendant did not want
                     to open the door for other requests for accommodation.


          63.     On or about March 17, 2021, in follow up to that conversation, Plaintiff wrote to

   Dages to again request accommodations and to report that he was being discriminated against

   based upon his disability. The following is a copy of the March 17, 2021 letter:




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          64.    On March 31, 2021, Plaintiff became eligible for leave under the Family and

   Medical Leave Act (“FMLA”).

          65.    On or about April 9, 2021, as requested by Defendant, Plaintiff’s doctor filled out

   a Work Restriction Form, which Plaintiff promptly provided to Defendant.




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          66.     On or about April 9, 2021, Defendant offered Plaintiff FMLA leave as a reasonable

   accommodation – specifically, Plaintiff could request intermittent FMLA leave for each

   Wednesday he was scheduled. Defendant claimed it would continue to work with Plaintiff on an

   acceptable, permanent solution, but asserted it was still missing information from Plaintiff’s

   physician.   In the meantime, Defendant offered to accommodate Plaintiff with a four-day

   workweek for 15 days while waiting for clarifying information from Plaintiff’s doctor.

          67.     On or about May 11, 2021, Plaintiff received another letter from Defendant

   admitting that it temporarily accommodated his requested schedule, and asking Plaintiff’s doctor

   for additional information.

          68.     Plaintiff’s doctor completed another Work Restriction Form shortly thereafter,

   which Plaintiff promptly forwarded to Defendant.

          69.     On or about May 21, 2021, Plaintiff received an email from Tollefson asking for

   further clarifying information from Plaintiff’s doctor.

          70.     On June 10, 2021, Plaintiff responded to Tollefson and attached another Work

   Restriction Form from Plaintiff’s doctor with additional clarification.       This indicated that

   Plaintiff’s: “[d]isability impacts major life activities by affecting functional memory, cognition,

   and perceptual awarenesss. The severity of the disability requires an accommodation to reduce

   the number of workdays to four per week.”

          71.     Throughout Plaintiff’s employment, upon information and belief, other similarly

   situated individuals – not of Plaintiff’s protected class – are and were regularly allowed to work

   four days per week, without being demoted to a temporary position or being given reduced hours

   of 15 hours per week.


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          72.    In or about the week of July 26, 2021 (one year after Plaintiff first requested the

   reasonable accommodations), Defendant informed Plaintiff that it would be scheduling Plaintiff

   to work four days a week and that Plaintiff would be given three days off per week, with one of

   the days off being Wednesdays. According to Washington, the instruction to provide Plaintiff

   with a four-day work week came from corporate headquarters.

          73.    Shortly after, however, the reasonable accommodation was revoked.

          74.    On or about September 10, 2021, Washington (General Manager) informed

   Plaintiff that he was no longer allowed to work only four days per week. Instead, Plaintiff would

   need to call out and use either FMLA or paid time off for appointments. When Plaintiff asked

   Washington what had changed – since Washington himself had admitted that the four day per

   week schedule was working well – Washington told Plaintiff that Defendant never intended to

   accommodate Plaintiff’s disability in the long-term and that the four day a week schedule was

   merely temporary to allow Defendant time to investigate its options.

          75.    After the meeting, Washington reiterated that the four day per week schedule was

   working out fine (i.e. caused no undue hardship) but said Defendant wanted to enforce a purported

   policy of employees working five days per week. No other reason was provided for why

   Defendant allegedly could not accommodate Plaintiff. Further, to Plaintiff’s knowledge, no

   analysis of undue hardship was conducted at any time regarding Plaintiff’s requested

   accommodations.

          76.    In its Determination in favor of Plaintiff, the Colorado Civil Rights Division noted

   that Defendant’s:

                 [R]easoning is undermined by the fact that it offered, on several
                 occasions, and provided, the Complainant [Plaintiff] with a four-day

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                  workweek throughout months of the interactive process; as such, it
                  is plausibly reasonable that the Respondent [Defendant] has not
                  experienced undue hardship by accommodating Complainant’s
                  [Plaintiff’s] request. Furthermore, the Respondent [Defendant]
                  admits to temporarily accommodating other employees without
                  disabilities, such as those with childcare obligations, with a four-day
                  workweek.

          77.     The Defendant did not make a good faith effort to determine whether Plaintiff’s

   requested accommodations would be possible, as the clarification discussions/interactive process

   took over seven months.

          78.     Defendant cannot show that the Plaintiff’s accommodation request, or timely

   responding to same, would have imposed an undue hardship on Defendant.

          79.     Plaintiff suffered discriminatory treatment from Defendant from August 2020 to

   February 2022, as he was repeatedly denied the accommodations he needed, forced to endure an

   unnecessarily delayed accommodation process, required to call out for medical appointments, and

   was urged to take a demotion to a position working only 15 hours per week. By waiting nearly a

   year to provide him with these accommodations and then suddenly rescinding them, Defendant

   further discriminated against Plaintiff because of his disabilities and/or perceived disabilities.

          80.     In or about December 2021, having suffered from months of the Defendant failing

   to accommodate Plaintiff, and because Defendant’s ongoing and repeated failure to accommodate

   Plaintiff had exacerbated his health conditions, Plaintiff was forced to take leave pursuant to the

   Family and Medical Leave Act in order to obtain necessary treatment.

          81.     Management’s conduct of continually refusing to grant Plaintiff reasonable

   accommodations despite being able to do so without causing any undue hardship, and rescinding

   those accommodations it briefly granted, had a significant impact on Plaintiff’s mental health and


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   impaired his ability to obtain the treatment he needed. Likewise, Defendant’s conduct showed that

   Plaintiff’s supervisors were not interested in working with individuals who requested reasonable

   accommodations under the ADA.

          82.     In late February 2022, having endured months of the discriminatory treatment –

   and after being forced to frequently forego much needed therapy and medication that he could not

   afford due to reduced hours – Plaintiff was forced to resign.

                                     FIRST CLAIM FOR RELIEF

     (Disability and/or Perceived Disability Discrimination and Failure to Accommodate in
    Violation of Section 102(a) and (b)(5)(A) of the Americans with Disabilities Act (“ADA”),
                         as amended, 42 U.S.C. § 12112(a) and (b)(5)(A))

          83.     Plaintiff incorporates all the paragraphs of this Complaint as though set forth fully

   and separately herein.

          84.     Plaintiff is a disabled person within the meaning of the ADA.

          85.     Plaintiff suffers from major depressive disorder with anxious distress; attention-

   deficit hyperactivity disorder combined, i.e. “ADHD;” and related symptoms.

          86.     Plaintiff’s disability and/or the symptoms directly related to his disability

   substantially limits one or more major life activities.

          87.     Plaintiff was qualified for his job and was capable of performing the essential

   functions of his position with or without a reasonable accommodation.

          88.     Plaintiff was regarded as being disabled by Defendant.

          89.     As addressed herein, Defendant repeatedly denied the reasonable accommodations

   suggested by Plaintiff and/or his medical providers, including limiting his schedule to four

   workdays per week and allowing him off of work consistently on Wednesdays.


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           90.    The requested reasonable accommodations would not have caused Defendant an

   undue hardship.

           91.    Defendant likewise failed to engage in the requisite good faith interactive process

   with Plaintiff regarding reasonable accommodations under the ADA.

           92.    Beginning in July 2020, Defendant discriminated against Plaintiff because of his

   disabilities by subjecting him to less favorable terms, conditions, and privileges of employment

   than employees outside of Plaintiff’s protected class.

           93.    Instead of engaging in the good faith interactive process, Defendant insisted that

   allowing Plaintiff an accommodation would “open the floodgates” for schedule changes; instructed

   Plaintiff to “call out,” thereby reducing his work hours and his pay; disciplined Plaintiff for

   “excessive absenteeism” after he called out of work as instructed; regularly instructed Plaintiff to

   speak to someone else about his requested accommodations; tried to demote Plaintiff to a position

   working only 15 hours per week; and repeatedly insisted that Plaintiff provide additional

   information.

           94.    In February of 2022, having endured months of discriminatory treatment – and after

   frequently having to forego much-needed treatment for his health conditions – Plaintiff was forced

   to resign.

           95.    The effect of Defendant’s discriminatory practices has been to deprive Plaintiff of

   equal employment opportunities and otherwise adversely affect his status as an employee because

   of Plaintiff’s disabilities and/or perceived disabilities, and/or because of Defendant’s denial of

   Plaintiff’s requests for reasonable accommodations based on his disabilities.

           96.    Defendant’s above-described conduct was intentional.


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          97.       Defendant’s above-described conduct was done with malice or reckless

   indifference to Plaintiff’s federally protected rights.

          98.       As a direct and proximate result of Defendant’s above-described actions, Plaintiff

   has suffered damages, including lost wages and benefits, emotional pain and suffering,

   embarrassment, and inconvenience; and he is entitled to such general and special damages,

   economic damages, punitive damages, and attorneys’ fees and costs as permitted by law.

                                    SECOND CLAIM FOR RELIEF

                (Retaliation in Violation of the ADA, as amended, 42 U.S.C. § 12203(a))

          99.       Plaintiff incorporates all the paragraphs of this Complaint as though set forth fully

   and separately herein.

          100.      Since July 2020, Plaintiff made numerous requests for reasonable accommodations

   related to his disabilities. In doing so, Plaintiff was engaging in activity protected under the ADA.

          101.      On or about March 17, 2021, Plaintiff reported that he was being discriminated

   against. In doing so, Plaintiff was engaging in activity protected under the ADA.

          102.      Defendant retaliated against Plaintiff after he engaged in the above-described

   protected activity.

          103.      More specifically, Defendant instructed Plaintiff to “call out,” thereby reducing his

   work hours and his pay; disciplined Plaintiff for “excessive absenteeism” after he called out of

   work as instructed; unnecessarily delayed the accommodation process; regularly instructed

   Plaintiff to speak to someone else about his requested accommodations; tried to demote Plaintiff

   to a position working only 15 hours per week; and repeatedly insisted that Plaintiff provide

   additional information. Defendant briefly granted and then revoked Plaintiff’s accommodations


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   and, ultimately, Plaintiff felt he had no choice but to resign. These consequences are of the type

   that would tend to discourage similarly situated employees from requesting accommodations

   and/or complaining about or opposing illegal discrimination.

          104.    A causal connection exists between Plaintiff’s protected activities and Defendant’s

   materially adverse actions, i.e. the retaliatory acts occurred because Plaintiff requested and/or

   required reasonable accommodations related to his disabling medical condition(s) and/or because

   Plaintiff reported discriminatory conduct.

          105.    Defendant’s above-described conduct was intentional.

          106.    Defendant’s above-described conduct was done with malice or with reckless

   indifference to Plaintiff’s federally protected rights.

          107.    As a direct and proximate result of Defendant’s above-described actions, Plaintiff

   has suffered damages, including lost wages and benefits, emotional pain and suffering,

   embarrassment, and inconvenience; and he is entitled to such general and special damages,

   economic damages, punitive damages, and attorneys’ fees and costs as permitted by law.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

   against Defendant and order the following relief as allowed by law:

          A.      Compensatory damages, including but not limited to those for past and future

   pecuniary and non-pecuniary losses, garden-variety emotional distress, pain, inconvenience,

   mental anguish, and loss of enjoyment of life;

          B.      Punitive damages as allowed by law;

          C.      Attorneys’ fees and costs of this action;


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         D.      Pre-judgment and post-judgment interest at the highest lawful rate; and

         E.      Such further relief as the Court deems just and proper.

                                       JURY TRIAL DEMAND

         Plaintiff requests a trial by jury on all issues so triable.

         Respectfully submitted this 18th day of May 2022.




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